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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                        PLANO DIVISION


IN RE:                                                          §
                                                                §     CHAPTER 11
                                                                §
REMARKABLE HEALTHCARE OF                                        §     CASE NO. 24-40605
CARROLLTON LP, ET AL., 1                                        §
                                                                §     (Jointly Administered)
                                                                §
                              DEBTORS.                          §

    AGREED INTERIM AND PROPOSED FINAL ORDER GRANTING DEBTORS’ MOTION
      TO COMPEL WEST WHARTON COUNTY HOSPITAL DISTRICT TO TURNOVER
                      FUNDS AND DEADLINE TO OBJECT

           ON THIS DATE the Court conducted an emergency hearing regarding the above-captioned

motion. Upon the motion (the “Motion”) 2 of the Debtors for an order (this “Order”) compelling West

Wharton Hospital District (the “Hospital District”) to turn over funds; and due and sufficient notice

of the Motion having been given under the particular circumstances; and it appearing that no other or

further notice need be provided; and it appearing that this Court has jurisdiction to consider the Motion

and the relief requested therein in accordance with 28 U.S.C. § 1334(b); and it appearing that the

Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that venue in this district is allowed

pursuant to 28 U.S.C. §§ 1408 and 1409; and upon the record herein; and after due deliberation thereon;

and good and sufficient case appearing therefor, it is hereby

ORDERED, ADJUDGED, AND DECREED that:

           1.       The Motion is resolved as set forth herein.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Remarkable Healthcare of Carrollton, LP (5960), Remarkable Healthcare of Dallas, LP (3418),
Remarkable Healthcare of Fort Worth (1692), Remarkable Healthcare of Seguin, LP (4566), and Remarkable
Healthcare, LLC (5142).
2
    Capitalized terms not otherwise defined shall have the meaning set forth in the Motion.



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         2.     The Hospital District and the Debtors have agreed to settle the Motion pursuant to an

agreement (the “Settlement Term Sheet”) attached hereto as Exhibit A.

         3.     The Settlement Term Sheet is incorporated into this Order.

         4.     Consistent with FRBP 4001(c)(2), in order to avoid immediate and irreparable harm to

the estate and pending a final hearing, the Hospital District and the Seguin Debtor entered into the

Settlement Term Sheet, and the Hospital District shall be granted the protections provided under the

Settlement Term Sheet, and this Order to secure the repayment of such claim amounts up to $200,000

on an interim basis. Upon this Order becoming Final, the entire terms and conditions of the Settlement

Term Sheet shall become final, including the full claim amount of the Hospital District’s Allowed

Claim.

         5.     The Seguin Debtor stipulates and agrees to the provision regarding the ownership of

the Facility AR subject to the terms of the Settlement Term Sheet.

         6.     This Order is an Interim Order, and if no objections are filed on or before October 3,

2024, then all provisions the Settlement Term Sheet are approved on a final basis. If objections are

filed, the hearing on such objections is set for October 7, 2024 at 10:00 a.m. central time.

         7.     The milestones in the Settlement Term Sheet are not binding on any parties other than

the Debtors and the Hospital District.

         8.     The Seguin Debtor is allowed to pay the following expenses from the $179,889.16

received from the Hospital District on September 19, 2024:

                    i. Seguin payroll: approximately $130,000 (payroll Friday, Sept. 20)

                    ii. IFPS Property Insurance: $18,823 (due Friday, Sept. 20)

                   iii. Tiger Sanitation Dumpster: $900 (past due)

                   iv. Backflow repair: $3,300 (mechanic scheduled for next week, but before

                        reconciliation finalized)

                    v. AT&T for operational facility phone lines: $4,900 (past due)


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                      vi. Medline medical supplies: $2,200 (due Friday, Sept. 20)

                     vii. Performance Food: $3,200 (due Friday, Sept. 20)

                     viii. City of Seguin Utilities: $13,500 (past due)

                      ix. GRMC Lab: $3,300 (past due)

                       x. Management Fee: $18,000 (so LLC payroll can be paid, which is also due

                           September 20, 2024)

                      xi. Auto insurance for vans: $2,300 (auto drafts)

        9.      Before the Seguin Debtor pays any expenses other than the above approved expenses,

the Seguin Debtor is ordered to complete a reconciliation of the $179,889.16 and all other funds

received from the Hospital District going forward. If such reconciliation concludes that funds received

by the Seguin Debtor from the Hospital District are A/R related to pre-petition dates of services, and

both the Seguin Debtor and Alleon agree to the amounts, then those agreed upon amounts shall be

transferred to Alleon Capital within three (3) business days or if such transfer cannot be made due to

lack of funds, then the Seguin Debtor shall provide a replacement lien in the agreed upon amount on

post-petition accounts receivable and/or such amounts may be paid from A/R related to post-petition

dates of services.

        10.     This Court shall retain jurisdiction with respect to all matters arising or related to the

implementation or interpretation of this Order.

        11.     This Order is immediately effective upon entry.




                                                                Signed on 09/20/2024

                                                                                                   SD
                                                     HONORABLE BRENDA
                                                     HONORABLE  BRENDA T.
                                                                       T. RHOADES,
                                                                          RHOADES,
                                                     UNITED STATES
                                                     UNITED STATES BANKRUPTCY
                                                                   BANKRUPTCY JUDGE
                                                                               JUDGE




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                                 EXHIBIT A




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